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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


    RYAN LLC,

          Plaintiff,
                                            CASE NO.: 3:24-CV-986-E
    CHAMBER OF COMMERCE OF
    THE UNITED STATES OF                    Hon. Ada Brown
    AMERICA, et al.,

          Plaintiff-Intervenors,

          v.

    FEDERAL TRADE COMMISSION,

          Defendant.


             BRIEF OF AMICUS CURIAE TEXAS AFL-CIO
              IN SUPPORT OF DEFENDANT’S RESPONSE
                   TO PLAINTIFFS’ MOTIONS FOR
      STAY OF EFFECTIVE DATE AND PRELIMINARY INJUNCTION

                                           Respectfully Submitted,


                                           TOWARDS JUSTICE

                                           By: /s/ David H. Seligman .
                                           David H. Seligman
                                           Nina DiSalvo
                                           Rachel W. Dempsey
                                           (pro hac vice forthcoming)

                                           P.O. Box 371689, PMB 44465
                                           Denver, CO 80237-5680
                                           (720) 441-2236
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                                           david@towardsjustice.org
                                           nina@towardsjustice.org
                                           rachel@towardsjustice.org

                                           ~and~

                                           TREMAIN ARTAZA PLLC

                                           By: /s/ Ashley E. Tremain .
                                                 Ashley E. Tremain
                                                 Texas Bar No. 24066209

                                           4925 Greenville Ave, Ste. 200
                                           Dallas, TX 75206
                                           (469) 573-0229
                                           ashley@tremainartaza.com

                                           Attorneys for Amicus Curiae




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                             INTEREST OF AMICUS CURIAE

          The Texas AFL-CIO is a state labor federation consisting of more than

   240,000 affiliated union members who stand together in support of working

   families in Texas. We are teachers, firefighters and farm workers, actors and

   engineers, pilots and public employees, painters and plumbers, steelworkers and

   screenwriters, doctors and nurses, stagehands, electricians and more. We work

   the early shift and the late shift.

          We seek a fair shot for all working people in Texas—union and non-union

   alike. We submit this amicus brief in support of speedy implementation of the

   FTC Non-Compete Clause Rule (“Final Rule”)1 because of the damaging effects

   that non-compete provisions have on the working people of Texas and the ways

   those provisions undermine the fundamental right to pursue a vocation of one’s

   choosing.

                                       INTRODUCTION

          The Final Rule is rooted in bedrock principles of economic freedom and

   American and Texas law. It is also consistent with an extensive administrative

   record full of comments from ordinary Texans and individuals from across the

   country describing how non-compete agreements constrain their economic

   freedom. Working people rarely, if ever, have an opportunity to negotiate over

   the non-compete provisions in their employment contracts. But these provisions

          1
             Non-Compete Clause Rule, 89 Fed. Reg. 38342 (May 7, 2024) (to be codified at 16 C.F.R.
   pts. 910, 12)
   https://www.federalregister.gov/documents/2024/05/07/2024-09171/non-compete-clause-rule.
                                                   1
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   strip them of the right to seek work where they would receive higher pay and

   better treatment and impede their professional growth and ability to channel

   their entrepreneurial spirit for the benefit of all of us. By limiting economic

   freedom, non-competes leave hard-working Americans at the mercy of abusive

   employers, low wages, and poor working conditions. Often, the non-compete

   provisions that impede economic freedom are not enforceable in court, but that

   makes little difference when the costs of challenging a non-compete are beyond

   the reach of ordinary people in this country.

           We write to tell the stories of working people. The substantial record

   evidence directly from individuals who have experienced the harms of

   non-compete agreements refutes the merits of Plaintiffs’ arguments. It

   reinforces, for example, that Plaintiffs are unlikely to prevail on the merits of

   their claim that the Final Rule is “arbitrary and capricious.” 5 U.S.C. §

   706(2)(A). It also demonstrates the extraordinary harm that working people,

   including low-wage workers, suffer each day that their freedom to work is

   restrained by a non-compete provision. In this context, the harm of delaying

   implementation of the Final Rule far outweighs any harm to Plaintiffs.2

           Even more fundamentally, however, these stories counter the narrative

   put forward by the corporate special interests seeking to stop the Final Rule


           2
              See generally, Rest. L. Ctr. v. U.S. Dep’t of Lab., 66 F.4th 593, 597 (5th Cir. 2023) (“[T]he
   movant must show he is likely to prevail on the merits and also demonstrate a substantial threat of
   irreparable injury if the injunction is not granted; the threatened injury outweighs any harm that will
   result to the non-movant if the injunction is granted; and the injunction will not disserve the public
   interest.” (internal citations omitted)).
                                                       2
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   from taking effect. First, nothing about this rule is revolutionary. It finds clear

   support in the experiences of hard-working Texans. Those experiences reveal

   how in practice, non-compete provisions undermine core principles of economic

   freedom. Second, also consistent with comments shared with the FTC by

   working people, the Final Rule appropriately sets a categorical prohibition of all

   non-compete agreements. Considering the burdens and costs of modern

   litigation, it is difficult or impossible for most people to wait to determine

   non-compete enforceability until after they change jobs or start a new business.

   Without a categorical prohibition, these individuals are forced either to suffer

   under unenforceable non-compete provisions or to spend years of their lives and

   tens of thousands of dollars clarifying their rights in court. The convoluted

   patchwork of state law enforceability tests undermines economic freedom and

   leaves working people holding the bag.

                                    ARGUMENT

   I.    Non-Compete Clauses Contravene Fundamental Principles of
         Economic Freedom and Fair Competition.

         In describing Texas law’s treatment of non-compete provisions, courts

   have explained that the right to “use one’s own labor in any lawful employment

   [is] one of the first and highest of civil rights.” Rieves v. Buc-ee’s Ltd., 532

   S.W.3d 845, 850 (Tex. App. 2017) (internal quotation marks omitted). This

   principle is rooted in Texas’ commitment to “economic liberty and vitality.”




                                            3
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   Marsh USA, Inc. v. Cook, 354 S.W.3d 764, 786 (Tex. 2011) (J. Willett,

   concurring).

         The Final Rule is founded upon those same ideals. First, substantial

   record evidence echoing the voices of ordinary people from across the

   country—including the thousands of workers we represent—demonstrates how

   non-compete clauses, even those no court would ever enforce, undermine the

   core and fundamental “economic liberty” to freely choose one’s own job. Id.

   Second, these experiences reveal that non-compete provisions stifle innovation

   and entrepreneurship and “restrict the right to work for no better reason than to

   erase the competition a company sought by entering the marketplace.” Id.

   Finally, contrary to Plaintiffs’ self-serving suggestion, the erosion of economic

   freedom is not justified by the purported “freedom of contract,” especially when

   most people have no meaningful opportunity to negotiate over the non-compete

   provisions in their employment contracts.


            a. Non-Compete Clauses Strip Texans of Economic Freedom.

         Texans see that non-compete provisions are a fundamental threat to our

   most hard-fought rights in this country. A veteran of the war in Afghanistan

   explained to the FTC in a comment during the rulemaking process that, “[a]s it

   stands now, I am legally forced to work for my company out of fear of a mega




                                          4
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   million dollar company ruining my life and my famil[y’s] livelihood … Pretty

   sure that’s not what I fought for.”3 It’s not.

          For many Texans, these provisions operate as their own personal

   economic straightjackets. One person explained to the FTC, for example, that

   “[i]t feel[s] almost like we have no choice but to keep this job or else we have to

   move drastically far away from our loved ones just to support ourselves.”4

   Another told the agency that after she was laid off, she felt that her non-compete

   would stop her from working unless she “change[d] careers at 52 years old.”5

          These constraints can have dire financial consequences. Non-compete

   provisions prevent working people from starting new businesses, seeking out

   new opportunities for professional growth, or taking a job that will pay them

   more. That can mean real hardship for working families struggling to make ends

   meet. One worker explained to the FTC that he gave up “an annual increase in

   salary of $60K plus $15K per year in car allowance with great bonus

   opportunities” because of a non-compete provision in his employment contract.6

   Even if the term were unenforceable, as are so many non-compete provisions

   confronting working people today, he couldn’t afford to fight it in in court.

   According to a national staffing firm that helps to place blue-collar workers in


          3
              John Roffino, Comment on Proposed Non-Compete Clause Rule (Mar. 3, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-7563.
            4
              Anonymous, Comment on Proposed Non-Compete Clause Rule (Mar. 2, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-7258.
            5
              Mary Green, Comment on Proposed Non-Compete Clause Rule (Jan. 23, 2023),
   https://www.regulations.gov/comment/FTC-2023-0007-4902.
            6
              Marvin Gasper, Comment on Proposed Non-Compete Clause Rule (Apr. 18, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-15725.
                                                 5
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   jobs across the country, including in Texas, “on a near daily basis, employees

   [are] unable to accept jobs offering significantly higher rates, advancement

   opportunities, or a better work environment due to signing non-compete

   agreements.”7 That is, non-competes are used to constrain not only top

   executives, but also low-wage and hourly workers—including those without

   specialized training or access to confidential information—from seeking out

   higher paying jobs where they would have more opportunities for professional

   advancement.

          The freedom to go work elsewhere is essential to the bargaining power of

   working people. This principle is obvious to many commenters to the FTC, one

   of whom noted that “[e]ach and every individual in this country has the ability

   and opportunity to better one’s self [sic] and deserves to earn a competitive

   wage, dictated by the labor market.”8 But for many corporate employers, the

   only competitive pressure they feel to pay people more or treat them better is

   the threat that their workers will go work somewhere else. When employers

   strip people of the right to sell their labor in a competitive market, that threat

   goes away, and the employer has effectively shielded itself from the free play of

   economic forces. As one commenter to the FTC explained, “this forces the




          7
              Bemana LLC, Comment on Proposed Non-Compete Clause Rule (Jan. 12, 2023),
   https://www.regulations.gov/comment/FTC-2023-0007-1136.
            8
              Homero Ruiz, Comment on Proposed Non-Compete Clause Rule (Mar. 13, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-8955.
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   employee to settle for less benefits/compensation and be less productive

   because their passion is stifled.”9

           And the harm goes beyond wage suppression. Raising concerns about

   sexual harassment, unpaid wages, or unsafe working conditions is far more

   challenging when it not only endangers one’s job, but also one’s livelihood. In

   some sense it is correct that the “cause of sexual harassment is the sexual

   harasser,” Brief of Amici Curiae Nat’l Retail Fed., et al., at 23, Ryan LLC et al.,

   v. FTC, 3:24-cv-986 (N.D. Tex. May 14, 2024), ECF No. 49, but non-compete

   provisions frequently force people to bear this sort of mistreatment by

   preventing them from seeking better working conditions elsewhere. To be sure,

   these individuals could complain about their mistreatment, but if a person

   subject to a non-compete is fired after complaining about wrongful treatment,

   they may find themselves contractually barred from any new jobs in their field.

   The choice between risking one’s livelihood or continuing to suffer workplace

   abuse is, for many people, not much of a choice at all. As one commenter to the

   FTC put it, “[w]hy should we, the employees, be tied to a company that treats us

   [as] less than human?”10

           We see how non-compete provisions undermine the right to earn a decent

   living as one sees fit.11 In many cases, that appears to be the point. The United
           9
              Anonymous, Comment on Proposed Non-Compete Clause Rule (Feb. 22, 2023),
   https://www.regulations.gov/comment/FTC-2023-0007-5829.
            10
               Anonymous, Comment on Proposed Non-Compete Clause Rule (Mar. 3, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-7225.
            11
               See generally Evan Starr, Consider This: Training, Wages, and the Enforceability of
   Covenants Not to Compete, 72(4) ILR Review 783 (2019),
   https://doi.org/10.1177/0019793919826060.
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   States Chamber of Commerce opens its federal court complaint seeking an

   injunction against the Final Rule by observing that the true value of a

   corporation is its people.12 The Texas AFL-CIO agrees, but as one commenter to

   the FTC explained, if a “person is so ‘valuable’, pay them their worth, [do] not

   sue them to ruin them.”13 The Final Rule would help to ensure a marketplace

   where corporations compete fairly for labor through decent wages and fair

   treatment and where individuals retain their core economic freedom to pursue a

   vocation of their choosing. That is why we support the Final Rule.


               b. Texans See How Non-Compete Provisions Undermine Free and
                  Fair Competition to the Detriment of the Public.

           Whether they are nurses serving patients, construction workers building

   skyscrapers, entrepreneurs with new ideas, scientists who can help to spur new

   discoveries, or service workers who take pride in the ways they make their

   customers’ lives better, our members and people across Texas know they are the

   engine of this state. They dedicate their lives to building careers where they can

   serve others with specialized skills and expertise. But non-compete provisions

   frequently force them to give up on those goals to the detriment of all of us.

           People across Texas frequently decline to pursue work that would allow

   them to serve the public because they do not have the resources to challenge a

   non-compete. For example, a healthcare worker told the FTC that she had been

   12
      Plaintiff-Intervenor’s Complaint at ¶ 1, Ryan LLC et al., v. FTC, 3:24-cv-986 (N.D.Tex. May 9,
   2024), ECF No. 37
   13
      Evan Savage, Comment on Proposed Non-Compete Clause Rule (Jan. 10, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-0516.
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   forced to find a job “in something that is outside of [her] area of expertise

   because of [a] non-compete.”14 Another commenter described how a

   non-compete agreement keeps him trapped in a medical device sales job selling

   an inferior product: “Because of my non-compete I have to fight and attempt to

   keep my providers from using a better alternative treatment option. The concept

   of forcing someone to fight for your inferior product at the possible expense of

   patient care, all because your employee is forced by law to ‘serve’ you feels

   extremely un-American and unconstitutional.”15 The first worker wants to use

   her expertise to serve patients in her chosen field. The second wants to sell

   better medical technology to providers. We all want these workers to be able to

   make that choice, but non-compete provisions stand in the way.

          Texans also see how non-compete provisions impede their opportunities

   to build new businesses and to grow new ideas because “old employers interfere

   with start-ups.”16 One commenter to the FTC described her husband’s

   experience forming a new business in “the same industry [as his previous job],

   for which he holds a professional license.” She explained that her husband’s

   “former employer felt threatened and used the non-compete as their way to

   bully [her] husband out of business.”17 Another described how her “dream” to


          14
               Laura Torres, Comment on Proposed Non-Compete Clause Rule (Mar. 2, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-7225.
            15
               John Roffino, Comment on Proposed Non-Compete Clause Rule (Mar. 3, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-7563.
            16
               Alan Hyde, Should Noncompetes Be Enforced?, Regulation, Cato Inst. (2010–11),
   https://www.cato.org/regulation/winter-2010-2011/should-noncompetes-be-enforced.
            17
               Anonymous, Comment on Proposed Non-Compete Clause Rule (Mar. 21, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-10542.
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   found her own business “turned into a nightmare” when she was forced to exit

   her industry because of a non-compete.18 Others would have loved to “start a

   new company better than this one” but only “if the non compete I signed wasn’t

   in place.”19 Once the Final Rule goes into effect, these individuals will have the

   confidence to launch their new projects, start their new businesses, and maybe

   even hire their own workers. That kind of freedom and autonomy may not serve

   powerful corporate interests seeking to maintain their unfair competitive

   advantage, but it is critical to maintaining a free and fair market that works for

   everyone.


               c. The Purported “Freedom of Contract” Does Not Justify
                  Constraints on Individual Economic Freedom.

          Plaintiffs would suggest that the commenters telling the FTC about how

   their economic freedom has been stripped from them through the fine print have

   it wrong. Sure, their economic freedom may be constrained in some way, but

   only because they have been able to exercise their purported “freedom of

   contract.”

          We know firsthand, however, based on the experiences of people across

   this state and reflected in the ample administrative record before the FTC, that

   in these contexts, the “freedom of contract” is a fiction. Individuals almost

   never have any meaningful opportunity to negotiate over fine-print terms in

          18
               Laura Torres, Comment on Proposed Non-Compete Clause Rule (Mar. 2, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-7225.
            19
               Anonymous, Comment on Proposed Non-Compete Clause Rule (Apr. 20, 2023),
   https://www.regulations.gov/comment/FTC-2023-0007-18001.
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   employment contracts, especially when those terms include non-compete

   agreements designed to stifle competition. One recent study suggests that almost

   90% of workers subject to non-compete provisions never negotiated over

   them.20 We regularly see people signing non-competes just before starting a new

   job or during their first day or two at a new job along with a rash of other

   “onboarding” paperwork.21 This paperwork is almost always presented to them

   on a take-it-or-leave-it basis.

           Comments to the FTC reinforce the point. One person reported to the

   FTC that during his first day at his new job, he “was handed a packet of papers

   that included a non-compete. This wasn’t mentioned anywhere in the

   interviews.”22 In the event that someone even notices a non-compete in their

   fine-print contracts, there is little they can do, having already relied on the offer

   of new employment, left their previous job, and lost negotiating leverage. One

   commenter to the FTC explained that “on my first day on the job … I was told

   that if I intended to work at the company in question, I would have to agree and

   sign the non-compete agreement. I begrudgingly agreed, as I had quit my

   previous job in order to secure this job.”23 Quite simply, non-compete provisions

           20
               See Evan Starr, J.J. Prescott and Norman D. Bishara, Noncompete Agreements in the U.S.
   Labor Force, Journal of Law and Econ. (Oct. 2020), https://ssrn.com/abstract=2625714 or
   http://dx.doi.org/10.2139/ssrn.2625714.
            21
               This problem is so marked, that eight states and the District of Columbia have enacted laws
   requiring advance notice of non-competes. Epstein Becker & Green, P.C., 50-State Noncompete
   Survey (2023), https://tinyurl.com/52r2tu65. But forty-two states still allow boilerplate non-competes
   to be included in onboarding paperwork
            22
               Michael DiLeo, Comment on Proposed Non-Compete Clause Rule (Feb. 27, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-5962.
            23
               Homero Ruiz, Comment on Proposed Non-Compete Clause Rule (Mar. 13, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-8955.
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   are rarely freely negotiated contractual terms. They are fine-print constraints on

   the right to work imposed unilaterally by employers on individuals as a

   condition of a job. There is no freedom of contract in that.

   II.   The Experiences of Texans and the Principles of Economic Freedom
         Support a Bright-Line Prohibition of Non-Compete Provisions.

         The principles of economic freedom that serve as the foundation of Texas

   law and the FTC’s analysis are only protected by a bright-line and categorical

   prohibition like the Final Rule. That is because for most people, the mere

   presence of a non-compete provision in an employment contract will have all

   the harmful consequences we describe above even if no court would ever

   enforce it. And those working people who dare to challenge their non-compete

   provisions face threats and legal consequences that often force them to back

   down. Even if they ultimately prevail in court, they only do so after years of

   litigation and tens of thousands of dollars in legal costs.

             a. Legal Ambiguity Incentivizes Drafter Overreach and Causes
                Individuals to Abide by Unenforceable Non-Compete Provisions.

         Plaintiffs’ laud “the prevailing state-law approach, [in which] courts use a

   case-by-case analysis to balance the benefits of a non-compete agreement

   against the potential burden it imposes on the worker—a fact-specific inquiry

   designed to determine whether a particular non-compete agreement is

   reasonable and thus enforceable.” Amended Complaint at ¶ 3, Ryan LLC et al.,

   v. FTC, 3:24-cv-986 (N.D.Tex. May 1, 2024) ECF No. 22. But not only do state

   law standards for non-compete enforceability vary widely, even popular

                                            12
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   reasonableness       tests,24    according      to    Texas     courts,     have     “a certain

   eye-of-the-beholder flavor—a vagueness that inexorably produces the

   case-by-case unpredictability that haunts this area of employment law.” Marsh,

   354 S.W.3d at 782 (J. Willett, concurring). The problem is only exacerbated by

   the prevalence of corporations that operate across several states, leading to the

   possibility that, for example, a Texas employee’s non-compete provision be

   subject to another state’s reasonableness test. In too many cases, “[e]mployers

   and employees who enter into noncompete agreements likely have little

   understanding of whether their agreement is enforceable under the chosen law

   or whether the chosen forum would even apply that state’s noncompete law.”25

          In the face of this ambiguity, many corporate employers have little

   incentive not to overreach and include unenforceable non-compete provisions in

   employment contracts. As Judge Willet explained when he served on the Texas

   Supreme Court, it cannot “be doubted that some companies try to tilt the

   playing field via dubious noncompete covenants, even facially unenforceable

   ones, knowing that even the specter of enforcement action will chill employees

   (and their potential employers) into preemptive capitulation.” Marsh, 354

   S.W.3d at 784 (J. Willett, concurring).26 This is especially true because most

          24
              Thomson Reuters, Non-Compete Agreements, 50 State Statutory Surveys: Employment:
   Private Employment, Westlaw, 0060 Surveys 23 (Nov. 2022) (showing many states that require a
   reasonableness test).
           25
              Robert McAvoy, How Can Federal Actors Compete on Noncompetes? Examining the Need
   for and Possibility of Federal Action on Noncompetition Agreements, 126 Dick. L. Rev. 651 (2022).
           26
              This is evidenced by the fact that in 2019 in California, a state where noncompete
   agreements had been entirely barred for over a century, approximately 45% of businesses still asked
   employees to sign non-compete agreements. Alexander J.S. Colvin and Heidi Shierholz, Noncompete
   Agreements, Economic Policy Institute (Dec. 10, 2019),
                                                   13
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   state law doctrines allow courts to modify non-compete provisions by blue

   penciling them after the fact.27 In these contexts, employers have little reason

   not to overreach, knowing that at worst a court will merely redraft its

   non-compete to comply with the court’s own reasonableness analysis.

           While legal ambiguity creates incentives for corporate overreach, it also

   means that most people have no choice but to abide by a non-compete, even

   when it violates the law. Most Texans do not have the resources to hire a lawyer

   to review their employment contracts. They are left to assume that whatever

   their employer includes within that contract is legal and has the force of law.

   According to recent research, “70% of employees with unenforceable

   noncompetes mistakenly believe their noncompetes are enforceable.”28 That

   means that potentially thousands of Texans feel bound by non-competes that

   violate state law. They are not seeking out work that may pay them more or

   allow them to escape abuse; they are not seeking out new companies that will

   provide better paths to professional growth; and they are not starting new

   businesses that will grow the Texas economy. Even if no court would ever

   enforce these non-compete provisions, they have constrained individual

   economic freedom. For these reasons, it is essential the FTC’s rule set a

   bright-line and categorical proscription against non-compete provisions.
   https://www.epi.org/publication/noncompete-agreements/, citing Ronald J. Gilson, The Legal
   Infrastructure of High Technology Industrial Districts: Silicon Valley, Route 128, and Covenants Not
   to Compete, Stanford Law School, John M. Olin Program in Law and Economics, Working Paper No.
   163 (1998).
            27
               Epstein Becker & Green, P.C., supra note 22.
            28
               J.J. Prescott and Evan Starr, Subjective Beliefs about Contract Enforceability, Law &
   Economics Working Papers at 231 (2022), https://repository.law.umich.edu/law_econ_current/231.
                                                   14
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                b. People Who Do Challenge Non-Compete Provisions Face Legal
                   Threats and Protracted and Costly Litigation.

           After the fact enforcement based on a convoluted patchwork of various

   state reasonableness tests does not fulfill the interests of economic freedom. In

   most cases, non-compete clauses never end up in court, even for folks who

   doubt the clause’s enforceability. That is because most non-compete

   enforcement is done informally through reminders at exit interviews,

   post-employment letters, or other informal communications.29 (Courts review a

   tiny percentage of non-competes, particularly given FTC estimates that one in

   five American workers—roughly 30 million Americans – are subject to a

   non-compete30). One commenter to the FTC shared that, after working for an

   employer that treated her “like trash,” she “finally couldn’t take it anymore after

   being threatened, belittled, stole [sic] from and now I am getting constant emails

   [threatening] being sued if I continue in my line of work.”31 We see in the

   experiences of Texans what competition law scholar Harlan Blake explained

   more than half a century ago:

           For every covenant [not to compete] that finds its way to court,
           there are thousands which exercise an in terrorem effect on
           employees who respect their contractual obligations. …Thus, the
           mobility of untold numbers of employees is restricted by the
           intimidation of restrictions whose severity no court would sanction.


           29
               See generally, Evan Starr, J.J. Prescott and Norman D. Bishara, The Behavioral Effects of
   (Unenforceable) Contracts, Journal of Law, Economics, and Organization (2020),
   https://ssrn.com/abstract=2858637 or http://dx.doi.org/10.2139/ssrn.2858637.
            30
               Non-Compete Clause Rule, 89 Fed. Reg. 38342, 38343 (May 7, 2024) (to be codified at 16
   C.F.R. pts. 910, 12).
            31
               Jessica McCright, Comment on Proposed Non-Compete Clause Rule (Mar. 2, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-7184.
                                                    15
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   Harlan M. Blake, Employee Agreements Not to Compete, 73 Harv. L. Rev. 625,

   682-83 (1960). In this way, the threats of non-compete enforcement undermine

   individual economic freedom even when founded upon unenforceable

   non-compete provisions.

          Employer threats coerce compliance not only because they frighten

   working people, most of whom do not have counsel, but because protracted and

   costly litigation will mean substantial hardship for a worker even if they are

   ultimately vindicated in court. One commenter to the FTC simply said, “I don’t

   know how I could possibly afford to fight them in the courts.”32 Another

   commenter explained that his “company is a large public company with on staff

   legal that is too big to fight. I’ve already spent $17,000 of my retirement money

   to try to fight for some limits on their alleged limitations and will likely have to

   spend another $30,000 with no sure outcome, especially in my state of Texas.”33

   Another person explained: “LLC’s and Inc’s [sic] have more money to fight

   legally, so it almost always is the ‘David vs. Goliath’ scenario without the

   biblical help of God.”34 “Basically, the whole thing,” according to another

   commenter, “is just a scare tactic to maintaining [sic] good employees from

   getting ahead and earning a better living at another Company.”35


          32
               Marvin Gasper, Comment on Proposed Non-Compete Clause Rule (Apr. 18, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-15725.
            33
               Anonymous, Comment on Proposed Non-Compete Clause Rule (Jan. 12, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-1493.
            34
               Evan Savage, Comment on Proposed Non-Compete Clause Rule (Jan. 10, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-0516.
            35
               Homero Ruiz, Comment on Proposed Non-Compete Clause Rule (Mar. 13, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-8955.
                                                 16
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          Individuals who take their case to court may prevail, but it is often a

   hollow victory. One Texas worker filed suit to seek clarity on the enforceability

   of their noncompete provision, and said, “I eventually won the suit after being

   sidelined for 6 months. And ended up with a large legal bill. The cost was

   tremendous given lost wages and legal fees. The emotional toll on my family

   was also significant.”36 Another Texan explained, “I had $80,000 in legal fees. I

   did win, but because in Texas, I was unable to [] recover costs. I had to file for

   bankruptcy.” Plaintiffs suggest they confront irreparable harm in the threat of

   enforcement actions against them based on the FTC’s Final Rule, but the more

   serious harm at issue here is that confronting thousands of Texans, like this

   individual, who face financial ruin even if they are successful in challenging

   their non-compete provision in court.

          The only winners in these stories from working people, even in the stories

   that involve individuals who ultimately prevailed in challenging their

   non-compete provisions, are the lawyers who billed to litigate these fights and

   the corporate employers who were able to sidestep the competitive pressures of

   the marketplace by intimidating their workers into not seeking employment

   elsewhere. Ordinary people always lose. This is why, as another commenter

   explained to the FTC, “reform efforts need to dwell not on what will happen in

   the courtroom but on preventing lawsuits from becoming a possibility.”37 By

          36
               JC, Comment on Proposed Non-Compete Clause Rule (Apr. 12, 2023),
   https://www.regulations.gov/document/FTC-2023-0007-13975.
            37
               Matt Marx, Comment on Proposed Non-Compete Clause Rule (Apr. 19, 2023).
                                                 17
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   setting a bright-line and categorical prohibition, the Final Rule will mean less

   attorneys’ fees for lawyers litigating the enforceability of non-compete

   agreements after the fact and will make it much more challenging for employers

   to threaten people with non-compete provisions that likely violate the law. But

   the Final Rule will fulfill the core promise of economic freedom that people

   across Texas strive for.

                                      CONCLUSION

         For the foregoing reasons, the Court should deny Plaintiffs’ requests for a

   stay of the Final Rule’s effective date and a preliminary injunction barring its

   enforcement. Given that Plaintiffs have limited likelihood of success on the

   merits and that a stay or injunction would be antithetical to the public interest in

   general and to the interest of America’s workers in particular, neither of these

   drastic remedies is appropriate.




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   Dated: May 31, 2024                  Respectfully submitted,

                                        TREMAIN ARTAZA PLLC

                                        By: /s/ Ashley E. Tremain
                                              Ashley E. Tremain
                                              Texas Bar No. 24066209

                                        4925 Greenville Ave, Ste. 200
                                        Dallas, TX 75206
                                        (469) 573-0229
                                        ashley@tremainartaza.com

                                        ~and~

                                        TOWARDS JUSTICE

                                        By: /s/ David H. Seligman
                                              David H. Seligman
                                              Nina DiSalvo
                                              Rachel W. Dempsey
                                              pro hac vice forthcoming

                                        P.O. Box 371689, PMB 44465
                                        Denver, CO 80237-5680
                                        (720) 441-2236
                                        david@towardsjustice.org
                                        nina@towardsjustice.org
                                        rachel@towardsjustice.org

                                        Attorneys for Amicus Curiae




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                            CERTIFICATE OF COMPLIANCE

           I hereby certify the foregoing complies with the Procedures for Cases

   Assigned to District Judge Ada Brown and Standing Order, that the foregoing

   brief contains 4,548 words, including footnotes, and excluding the case caption,

   table of contents, table of authorities, signature block, and certificates, and that

   the foregoing is typed in 14-point font and the footnotes are typed in 11-point

   font.

   Dated: May 31, 2024                            /s/ Ashley E. Tremain
                                                  Ashley E. Tremain
                                                  Tremain Artaza PLLC
                                                  4925 Greenville Ave, Ste. 200
                                                  Dallas, TX 75206
                                                  (469) 573-0229
                                                  ashley@tremainartaza.com


                               CERTIFICATE OF SERVICE

           I hereby certify that on this date, the foregoing document was

   electronically filed in this matter with the Clerk of Court, using the ECF system,

   which sent notification of such filing to all counsel of record.



   Dated: May 31, 2024                            /s/ Ashley E. Tremain
                                                  Ashley E. Tremain
                                                  Tremain Artaza PLLC
                                                  4925 Greenville Ave, Ste. 200
                                                  Dallas, TX 75206
                                                  (469) 573-0229
                                                  ashley@tremainartaza.com




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